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 7
                                   UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9
10   MARLENA SONN,                                    Case No.: 2:22-cv-01137-APG-BNW

11                    Plaintiff,                      JOINT STIPULATION AND
                                                      PROPOSED ORDER TO
12                                                    CONSOLIDATE CASES,
13   vs.                                              PARTICIPATE IN VOLUNTARY
                                                      SETTLEMENT CONFERENCE,
14   KENDALLE P. GETTY, as Trustee of the             AND STAY ACTION PENDING
     Pleiades Trust and as an individual, KPG         SETTLEMENT CONFERENCE
15   INVESTMENTS INC., as Trustee of the
16   Pleiades Trust, ALEXANDRA SARAH
     GETTY, as Trustee of the Pleiades Trust
17   and as an individual, ASG
     INVESTMENTS INC., as Trustee of the
18
     Pleiades Trust, MINERVA OFFICE
19   MANAGEMENT, INC., and ROBERT L.
     LEBERMAN,
20
                      Defendants.
21
22         KPG Investments, Inc., Kendalle Getty, Marlena Sonn, Alexandra Sarah Getty,
23   ASG Investments Inc., Minerva Office Management, Inc., and Robert L. Leberman, by
24   and through their respective counsel of record, hereby stipulate and agree as follows:
25         1.    The current case is closely related to the subject matter of a separate and
26   previously filed action in the U.S. District Court for the District of Nevada, KPG
27   Investments, Inc., et al v. Marlena Sonn, et al, No. 3:22-cv-00236-ART-CLB (“KPG v.
28   Sonn, et al”).

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 1        2.     Counsel for all parties to both KPG v. Sonn, et al and the current case
 2   agreed to seek the consolidation of both actions in order to avoid parallel litigation and
 3   preserve judicial resources.
 4        3.     The current action was transferred from the United States District Court
 5   for the Eastern District of New York to the United States District Court for the District
 6   of Nevada on July 18, 2022.
 7        4.     Counsel for all parties in this case and KPG v. Sonn, et al (hereinafter, the
 8   “Actions”) have concluded that it is in the best interest of the respective parties that
 9   the Actions be consolidated and proceed as contemplated herein.
10        5.     All served parties, through their respective counsel, have stipulated to the
11   terms provided herein.
12        6.     The existence of common questions of law and fact between the Actions,
13   the interests of fair and efficient administration of the Actions, and the avoidance of
14   unnecessary duplicative efforts each warrants the consolidation of the Actions into a
15   single case (the “Consolidated Action”).
16        7.     While no responsive pleadings have been filed, all parties to the
17   Consolidated Action are familiar with the claims raised and underlying facts. As a
18   result, the parties believe that they have a sufficient understanding of the relevant
19   facts and legal issues to fairly evaluate their respective positions, and they believe
20   that this matter could settle with the assistance of the Court.
21        8.     Pursuant to Local Rule 16-5, the undersigned parties hereby stipulate and
22   agree to participation in a settlement conference. Because Magistrate Judge Baldwin
23   is assigned to KPG v. Sonn, et al, the parties stipulate and respectfully request the
24   Court enter an Order assigning this case to another Magistrate Judge to conduct a
25   settlement conference with the parties, on the next available date for a Magistrate
26   Judge that also works for the schedules of the parties and their counsel.
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 1        9.       The parties believe setting the settlement conference to occur in person
 2   will maximize the possibility of success, and accordingly request such a setting, unless
 3   rendered impossible due to health and safety restrictions related to COVID-19.
 4        10.      Pursuant to Local Rule 42-1, the undersigned parties hereby stipulate and
 5   request that the Consolidated Action be stayed pending the resolution of any
 6   scheduled settlement conference. Good cause exists to stay all activity in this case.
 7   The parties have been diligent in filing their respective claims, discussing the most
 8   efficient avenue to resolve their claims, and cooperating with each other to transfer
 9   and consolidate the related actions.
10        11.      The parties recognize that any motion practice on the pleadings or
11   discovery is likely to incur significant resources for all parties involved. Staying the
12   Consolidated Action at this early stage will maximize the possibility of success at any
13   scheduled settlement conference.
14        12.      In the event the scheduled settlement conference does not result in
15   resolution of the Consolidated Case, it is stipulated and agreed that each parties’
16   responsive pleading shall be due 21 days after the conclusion of the settlement
17   conference.
18        Dated: July 20, 2022
19
      McDONALD CARANO LLP                           ROGER WENTHE, PLLC
20
21    /s/ Leigh T. Goddard ___________              /s/ Roger W. Wenthe
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      THE GUNDERSON LAW FIRM                        LEMONS, GRUNDY & EISENBERG
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 2    /s/ Mark H. Gunderson ___________             /s/ Alice Campos Mercado _________
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      Attorney for Minerva Office                   Attorney for Alexandra Sarah Getty
 6    Management, Inc. and Robert L.                and ASG Investments Inc.
 7    Leberman

 8        IT IS ORDERED that KPG Investments, Inc. and Kendalle Getty v. Marlena
 9   Sonn, Case No. 3:22-cv-00236-ART-CLB (filed in Washoe County District Court on
10   March 17, 2022 and removed to the United States District Court for the District of
11   Nevada on May 26, 2022), and Marlena Sonn v. Kendalle P. Getty, et al, Case No.
12   2:22-cv-1137 (filed in the United States District Court for the Eastern District of New
13   York on May 11, 2022 and transferred to the United States District Court for the District
14   of Nevada on July 18, 2022), involve common questions of law and fact, and pursuant
15   to FRCP 42(a) and Local Rule 42-1(a), are hereby consolidated into KPG
16   Investments, Inc., et al, v. Marlena Sonn, Case No. 3:22-cv-00236-ART-CLB, and are
17   referred to herein as the Consolidated Action.
18        IT IS FURTHER ORDERED that all parties to the Consolidated Action will
19   participate in a settlement conference pursuant to Local Rule 16-5. Counsel will be
20   contacted by the Court to schedule the settlement conference for the Consolidated
21   Action.
22        IT IS FURTHER ORDERED that the Consolidated Action is stayed in its entirety
23   pending the conclusion of the settlement conference.
24        //
25        //
26        //
27        //
28        //

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 1          IT IS FURTHER ORDERED that if the settlement conference does not resolve
 2   the Consolidated Case, each parties’ responsive pleading shall be due 21 days after
 3   the conclusion of the settlement conference.
 4          IT IS SO ORDERED:
 5          DATED:                         , 2022
 6
 7
 8                                   UNITED STATES DISTRICT JUDGE /
                                     UNITED STATES MAGISTRATE JUDGE
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11   4890-0019-5370, v. 2

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